Case 3:22-cv-00410-REP Document 84 Filed 08/30/23 Page 1 of 1 PagelD# 2317

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

JOHN COREY FRASER, JOSHUA CLAY

MCCOY, TYLER DALTON MCGRATH,

TAN FLETCHER SHACKLEY, and

JUSTIN TIMOTHY FRASER, on behalf

of themselves and all others

similarly situated as a Class,
Plaintiffs,

Vv. No. 3:22-cv-410
BUREAU OF ALCOHOL, TOBACCO,
FIREARMS AND EXPLOSIVES, STEVEN
DETTELBACH, and MERRICK GARLAND,

Defendants.

ORDER

For the reasons set forth in the accompanying MEMORANDUM
OPINION, it is hereby ORDERED that the DEFENDANTS’ MOTION FOR A
STAY OF INJUNCTION PENDING APPEAL (ECF No. 63) is granted. The
FINAL ORDER OF INJUNCTION (ECF No. 81) and the FINAL ORDER OF
DECLARATORY RELIEF (ECF No. 82) are STAYED pending appeal to the
United States Court of Appeals for the Fourth Circuit. The facts
and legal contentions are adequately presented in the materials
before the Court and oral argument would not aid the decisional

process.

It is so ORDERED.

/s/ feed?

Robert E. Payne
Senior United States District Judge

Richmond, Virginia
Date: August 439, 2023

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